Case 20-32761 Document1 Filed in TXSB on 05/26/20 Page 1 of 54

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

 

Case number (if known) Chapter you are filing under:

a Chapter 7
O] Chapter 11
D Chapter 12

0 Chapter 13 1 Check if this is an
amended filing

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name thatison Ashley

 

 

 

 

 

 

your government-issued First name - First name

picture identification (for

example, your driver's Genee

license or passport). Middle name Middle name

Bring your picture

identification to your Brown

meeting with the trustee, Lastname and Suffix (Sr., Jr., Il, Ill) Last name and Suffix (Sr., Jr., Il, III)

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-7613
Individual Taxpayer
Identification number
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Debtor 1

Ashley Genee Brown

 

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

About Debtor 4

B | have not used any business name or EINs.

Case number (if known)

About Debtor 2 (Spouse Only in a Joint Case):

[1] | have not used any business name or EINs.

 

Business name(s)

 

EIN

Business name(s)

 

EIN

 

5. Where you live

10606 Clearview Villa Place
Houston, TX 77025

lf Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

Harris
County

If your mailing address is different from the one
above, fill itin here. Note that the court will send any
notices to you at this mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

Number, Street, City, State & ZIP Code

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

HM Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

O have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

Check one:

O Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

O {have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Debtor 1

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Ashley Genee Brown Case number (if known)

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2070)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under

a Chapter 7

O Chapter 11

O Chapter 12

O Chapter 13

8. Howyouwillpaythefee § | will pay the entire fee when | file my petition. Please check with the clerk’s office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

(1 __ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A).

O_ ‘I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

9. Have you filed for BENo

bankruptcy within the ,
last 8 years? CO Yes.
District ; When Case number
District When Case number
District When Case number
10. Are any bankruptcy HBNno
cases pending or being
filed byaspouse whois [1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District _ When Case number, if known
11. Do you rent your HNo Go to line 12.
residence? :
O Yes. Has your landlord obtained an eviction judgment against you?

Ey No. Go to line 12.

Oo Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor? Ashley Genee Brown Case number (if known)

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor
of any full- or part-time Bi no. Go to Part 4.
business?

0 Yes. Name and location of business

A sole proprietorship is a
business you operate as Name of business, if any
an individual, and is nota
separaie legal entity such
as a corporation,
partnership, or LLC.

 

 

If you have more than one Number, Street, City, State & ZIP Code

sole proprietorship, use a
separate sheet and attach
it to this petition. Check the appropriate box to describe your business:

 

oO Health Care Business (as defined in 11 U.S.C. § 101(27A))
oO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
oO Stockbroker (as defined in 11 U.S.C. § 101(53A))
oO Commodity Broker (as defined in 11 U.S.C. § 101(6))
G None of the above
13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
Chapter 11 of the proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or

Bankruptcy Code, and you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
are youa small business cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.

debtor or a debtor as § 1116(1)(B).
defined by 11 U.S.C. §
1182(1)?
HE No. | am not filing under Chapter 11.

For a definition of smal/
business debtor, see 11

U.S.C. § 101(51D). C1 No. aoe under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and

| do not choose to proceed under Subchapter V of Chapter 11.

O yes. | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and |
choose to proceed under Subchapter V of Chapter 11.

a Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Doyouownorhaveany gg No.
property that poses oris
alleged to poseathreat (0 Yes.
of imminent and What is the hazard?
identifiable hazard to
public health or safety?

Or do you own any : : ——
property that needs lf immediate attention is

immediate attention? needed, why is it needed?

 

 

For example, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs

urgent repairs?

 

Number, Street, City, State & Zip Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1

Ashley Genee Brown

 

ie Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

Oo

| received a briefing from an approved credit = CL]
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit El
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling |
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

lam not required to receive a briefing about oO
credit counseling because of:

OO _sIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O_ Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

Ol Active duty.
| am currently on active military duty ina
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

| am not required to receive a briefing about credit
counseling because of.

O_sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_ Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

Ol Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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Debtor? Ashley Genee Brown

Case number (if known)

 

Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

HB No. Go to line 16b.

0 Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

C1 No. Go to line 16c.

W@ Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that
after any exempt
property is excluded and

OONo. | amnot filing under Chapter 7. Go to line 18.

Byes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
"are paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses BNo

are paid that funds will

be available for O Yes

distribution to unsecured

creditors?
18. How many Creditorsdo gy 4_49 0 1,000-5,000 0D 25,001-50,000

tie aaa Weatyon = eng CO 5001-10,000 1 50,001-100,000

: 5 100-199 0 10,001-25,000 1 More than100,000
1 200-999

19. How much do you O $0 - $50,000 0 $1,000,001 - $10 million CO $500,000,001 - $1 billion

estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

C1 $50,001 - $100,000
H $100,001 - $500,000
1 $500,001 - $1 million

CI $0 - $50,000
1 $50,001 - $100,000
0 $100,001 - $500,000

B $500,001 - $1 million

DO $10,000,001 - $50 million
O $50,000,001 - $100 million
C1 $100,000,001 - $500 million

O $1,000,001 - $10 million

0 $10,000,001 - $50 million
0 $50,000,001 - $100 million
CO $100,000,001 - $500 million

0 $1,000,000,001 - $10 billion
CJ $10,000,000,001 - $50 billion
0 More than $50 billion

0 $500,000,001 - $1 billion

O $1,000,000,004 - $10 billion
O $10,000,000,001 - $50 billion
O1 More than $50 billion

 

izle Sign Below

 

For you

Official Form 101

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

lf! have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

Ifno attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

   

alge statement, concealing property, or obtaining money or property by fraud in connection with a
Np fineup-te-Re90, 000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

  

 

 

Signature of Debtor 2

Executed on

Executed on May 26, 2020

 

 

MM/DD/YYYY MM/DDIYYYY

Voluntary Petition for Individuals Filing for Bankruptcy page 6
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Debtor 1

Ashley Genee Brown

Case number (if known)

 

For your attorney, if you are
represented by one

If you are not represented by

an attorney, you do not need
to file this page.

sh

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the

schedulgsffiled.with the petition is incorrect.

 

 

 

 

Date May 26, 2020
Signature of Deo MM/DD/YYYY
Anabel King
Printed name
Wauson Probus
Firm name

One Sugar Creek Center Blvd., Suite 880

Sugar Land, TX 77478
Number, Street, City, State & ZIP Cade

281-242-0303
24067659 TX

Bar number & State

Contact phone Email address

 

aking@w-plaw.com

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 7
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Fill in this information to identify your case:

 

 

Debtor 1 Ashley Genee Brown
First Name Middle Name Last Name
Debtor 2

 

United States Bankruptcy Court forthe: © SOUTHERN DISTRICT OF TEXAS

 

(Spouse if, filing) First Name Middle Name Last Name

 

(if known)

O Check if this is an

| Case number
amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B.........cccccccccccccceccscescecesseccsssscsevesssvsvessassassasuessessesacacsucsecseeanacees $ 260,818.00
1b. Copy line 62, Total personal property, from Schedule A/VBoiw..ecc cesses esesscsereseeeenecersenseneenseesseentsneeeneensaeensssss $ 56,195.92
1c. Copy line 63, Total of all property on Schedule AUB... ...ccecceseeeeseeseseeseesesesseeeeceseseeseeeeeseseteeenssusvasensssvansusacsaesesene $ 317,013.92

 

Summarize Your Liabilities

Your liabilities
_Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 168,006.27
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a, Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F......cccccccccesscssscsseseeoses $ 15,701.15
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F....... cee $ 665,796.39.
Your total liabilities | $ 849,503.81 |
eee eee |

 

igceceee SUMmarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule |ou......ccceeccecseccceeseecvevessecsssssscscessesecssassscessssssveceeseees $ 3,750.00

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHECUIEC Jou... eeeeceececeeseseeeeeesceceeeeesstesssecsssssasessnsseseaneenees $ 6,377.92

Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Hi Yes
7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

f Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor 1 _Ashley Genee Brown Case number (if known)

 

 

8, From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

ne a ‘Total claim —

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 15,701.15
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 158,081.82
9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) § 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +5 0.00

 
   

9g. Total. Add lines 9a through 9f. 173,782.97

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Fill in this information to identify your case and this filing:

 

 

 

Debtor 1 Ashley Genee Brown
First Name Middle Name Last Name cre
| Debtor 2
(Spouse, if filing) “First Name Middle Name Last Name

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 

Case number Ol Check if this is an
= amended filing

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C1 No. Go to Part 2.

Hl ves, where is the property?

As What is the property? Check all that apply
10606 Clearview Villa Place I Single-family home
Street address, if available, or other description

 

Do not deduct secured claims or exemptions. Put
Duplex or multi-unit building the amount of any secured claims on Schedule D:

 

 

 

 

O Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(1 Manufactured or mobile home
Current value of the Current value of the
Houston TX 77025-0000 OO Land entire property? portion you own?
City State ZIP Code (1 Investment property $260,818.00 $260,818.00
1 Timeshare
oO a Describe the nature of your ownership interest
Other (ch as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
H Debtor 1 only
Harris CO Debtor 2 only
County O bdebtor 1 and Debtor 2 only

Check if this is community property
El At least one of the debtors and another oO (see instructions)

Other information you wish to add about this item, such as local
property identification number:

LtT16 BLK 1 V

VILLAS ON CLEAVIEW AMEND

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here... scseesssensseessseeeeceessseeseeesessees => $260,81 8.00

Ga Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Ashley Genee Brown Case number (if known)

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

ONo
Bi Yes
‘ : Do not deduct secured claims or exemptions. Put
y Xu 2

3.1 Make: Le Ss eee eRe Who has an interest in the property? Check one the amount of any secured claims on Schedule D;
Model: RX450h BB pebtor 4 only Creditors Who Have Claims Secured by Property.
Year: 2013 C1 debtor 2 only Current value of the Current value of the
Approximate mileage: 88000 O pebtor 4 and Debtor 2 only entire property? portion you own?
Other information; DO Atleast one of the debtors and another

 

CO Check if this is community property $18,591.00 $18,591.00

(see instructions)

 

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
BNno
DO Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for

pages you have attached for Part 2. Write that number here..............:ccccssssecsessseseecssssssesnesssnsesaeeesassausesssanenseues=> $18,591.00

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

ONo
i Yes. Describe...

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Sofa | $200.00
| (6) Chairs ct $150.00
| Curtains and Blinds Th $75.00
| Area Rug i ra $25.00
| Pillows and Cushions i $25.00
| Art and Wall Decor | Lane $25.00
Oven | $150.00
| Electric Grill | $75.00
| Coffee Machine nM | $25.00
Official Form 106A/B Schedule A/B: Property page 2

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Debtor1 Ashley Genee Brown Case number (if known) i
| Blender “| $25.00
| Dishes, glasses, bows, and silverware. | eens $35.00

ML | Pots and pans and cooking utensils. | $25.00
| Washer & Dryer | $300.00
| Cleaning Supplies 7 $4.00
[Bed and Matress Set | $200.00

(2) Night Tables | $75.00
| Chair | $50.00
| Dresser fr) $100.00
| Bookcase | $100.00

 

 

. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners: music collections; electronic devices
including cell phones, cameras, media players, games

1 No

W Yes. Describe...

 

| (4) Televisions | $450.00

 

 

| Laptop | $200.00

 

 

. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

BNo
OO Yes. Describe...

. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

ONo

Yes. Describe.....

 

| Threadmill | $100.00

 

 

 

| Elliptical Machine vin $150.00

 

 

10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment
Bi No

Official Form 106A/B Schedule A/B: Property page 3
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Debtor 1 Ashley Genee Brown Case number (if known)

 

O Yes. Describe.....

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

O1 No
Ml Yes. Describe.....

 

| Clothing, shoes, purses and handbags, and accessories. | $300.00

 

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

BNo
0 Yes. Describe.....

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Hi No
Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
BNo

0 Yes. Give specific information...

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

 

 

for Part 3. Write that number here .. onshbudbeduiassdacedtuaensiniie Desi eeva nabs $2,864.00
| Part 4: | Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

0 No

Cash $20.00

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

 

 

 

 

1 No
~~: .... Institution name:
17.1. Checking Chase $130.64
17.2. Savings PNC i $152.08
Money Market
17.3. Account Capital One ; $256.20

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Bi No
ED VSS sssenccreeseers Institution or issuer name:
Official Form 106A/B Schedule A/B: Property page 4

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Debtor 1 Ashley Genee Brown Case number (if known)

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

OO No

Hl Yes. Give specific information about them..................-
Name of entity: % of ownership:

Membership interest in Ashley Brown, DDS,
PLLC, ceased operations in May 2019; the debts
exceed assets. It owned no real property. The

PLLC is a defendant in two debt collections
suits. 100 % $0.00

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

BNo
C1] Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

ONo

@ Yes. List each account separately.
Type of account: Institution name:

401(k) Fidelity 401(k) $2,253.05

 

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

BiNo
DVS. vococcccccccccceeceee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
BNo

CO) Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

BNo

OD Yes...ccce Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
BiNo

O Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

BNo

0 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

ONo

@ Yes. Give specific information about them...

 

 

| Texas License to Practice General Dentistry i Unknown

 

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.
Official Form 106A/B Schedule A/B: Property page 5

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Debtor 1 Ashley Genee Brown Case number (if known)

28. Tax refunds owed to you
HiNo
OO Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No

O Yes. Give specific information...

30. Other amounts someone owes you 1
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

Bi No

1 Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

ONo

Bi Yes. Name the insurance company of each policy and list its value.

Company name: Beneficiary: Surrender or refund
value:

Northwest Mutual Life Insurance Policy
Total Death Benefit: $531,104 Adelle Brown $31,318.61

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

BNo
0 Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

BNno
C1 Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims

BNno

0 Yes. Describe each claim.........

35. Any financial assets you did not already list

ONo

I Yes. Give specific information...

 

| Robinhood Account $60.34

 

36. Add the dollar value of all of your entries from Part 4, — ye entries for EanAe you have attached
for Part 4. Write that number here... ens tenniisuspateannshenpsaanenenesainadsce sion atssiindesetonaadsowevinssoeavunecascucuaaies $34,190.92

 

 

 

Ea Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
O No. Go to Part 6.

a Yes. Go to line 38.

Current value of the
portion you own?
Do not deduct secured

Official Form 106A/B Schedule A/B: Property page 6
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Debtor 1 Ashley Genee Brown Case number (if known)

 

claims or exemptions.

38. Accounts receivable or commissions you already earned
B No
O Yes. Describe...

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

ONo
Yes. Describe...

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Laptop | $200.00
Oval Mirror _ | $40.00
| Credenza with Drawers | $150.00
| (3) Lamps-two hanging and a floor lamp | $60.00
| Area Rug and Abstract Print Canvas __ $50.00
| Television | $50.00

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
HNo
1 Yes. Describe.....

41. Inventory
BNo
OC Yes. Describe...

42. Interests in partnerships or joint ventures
HNo

0 Yes. Give specific information about them...........000
Name of entity: % of ownership:

43. Customer lists, mailing lists, or other compilations

a No.
0 De your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

BNo
C1 Yes. Describe...

44. Any business-related property you did not already list
BNo

C] Yes. Give specific information.........

45. Add the dollar value of all of your entries from Part 5, including any entries for pages “ix have attached
for Part 5. Write that number here... Gerba d'gad apasa at nu ebliecateGa bsainyanonaeas¥h ocsmenseedresemneanennaeeneanpsnperympsanensnentiners $550.00 |

Official Form 106A/B Schedule A/B: Property page 7
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Debtor’ Ashley Genee Brown ; Case number (if known)

lise Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
HB No. Go to Part7.

Yes. Go toline 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

HB No

O Yes. Give specific information.........

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ..............:ccsscesseneeereeeener $0.00

 

 

 

List the Totals of Each Part of this Form

 

 

55. Part 1: Total real estate, lin@ 2 .......cccssscccsssssseeescssssssessscsceerssssssuscasessassausecerssserenseensensnaves $260,818.00

56. Part 2: Total vehicles, line 5 $18,591.00

57. Part 3: Total personal and household items, line 15 $2,864.00

58. Part 4: Total financial assets, line 36 $34,190.92

59. Part 5: Total business-related property, line 45 $550.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $56,195.92 Copy personal property total $56,195.92

63. Total of all property on Schedule A/B. Add line 55 + line 62 $317,013.92 |
ee eee |

Official Form 106A/B Schedule A/B: Property page 8

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Fill in this information to identify your case:

 

 

 

Debtor 1 Ashley Genee Brown

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © SOUTHERN DISTRICT OF TEXAS

 

Case number
(if known) O Check if this is an
amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
OO You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule AB
10606 Clearview Villa Place Houston, $260,818.00 Oo Tex. Const. art. XVI, §§ 50, 51,
TX 77025 Harris County SEUeeeueeair ~——— Tex. Prop. Code §§
LtT16 BLK1V Hi 100% of fair market value, upto —-44.001-.002
VILLAS ON CLEAVIEW AMEND any applicable statutory limit

Line from Schedule A/B: 1.1

 

2013 Lexus RX450h 88000 miles $18,591.00 Tex. Prop. Code §§

Line from Schedule A/B: 3.1 ——— cee ee WP 42.001(a)(1), (2), 42.002(a)(9)
Hi 100% of fair market value, up to
any applicable statutory limit

Sofa $200.00 B $200.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.1 — 42.001(a)(1), (2), 42.002(a)(1)
XC 400% of fair market value, up to
any applicable statutory limit

 

(6) Chairs $150.00 Bf $150.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.2 42.001(a)(1), (2), 42.002(a)(1)
C1 400% of fair market value, up to

any applicable statutory limit

 

 

Curtains and Blinds $75.00 Bf $75.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.3 aan ——— 42.001(a)(1), (2), 42.002(a)(1)

O 100% of fair market value, up to
any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 4
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Debtor 1

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Ashley Genee Brown _

Case number (if known)

 

Brief description of the property and line on
Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Check only one box foreach exemption.

 

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B ;
Area Rug $25.00 $25.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.4 — 42.001(a)(1), (2), 42.002(a)(1)
OC 100% of fair market value, up to
any applicable statutory limit
Pillows and Cushions $25.00 $25.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.5 42.001(a)(1), (2), 42.002(a)(1)
1 100% of fair market value, up to
any applicable statutory limit
Art and Wall Decor $25.00 wy $25.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.6 — 42.001(a)(1), (2), 42.002(a)(1)
O 100% of fair market value, up to
any applicable statutory limit
Oven $150.00 $150.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.7 42.001(a)(1), (2), 42.002(a)(1)
FL 100% of fair market value, up to
any applicable statutory limit
Elemis evil $75.00 $75.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.8 42.001(a)(1), (2), 42.002(a)(1)
O 400% of fair market value, up to
any applicable statutory limit
Coffee Machine $25.00 $25.00 ex. Prop. Code §§
Line from Schedule A/B: 6.9 42.001(a)(1), (2), 42.002(a)(1)
CT 400% of fair market value, up to
any applicable statutory limit
Blender $25.00 wf $25.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.10 42.001(a)(1), (2), 42.002(a)(1)
C1 100% of fair market value, up to
any applicable statutory limit
Dishes, glasses, bows, and $35.00 Bf $35.00 Tex. Prop. Code §§
silverware. 42.001(a)(1), (2), 42.002(a)(1)
Line from Schedule A/B: 6.11 O 100% of fair market value, up to
any applicable statutory limit
Pots and pans and cooking utensils. $25.00 $25.00 ex. Prop. Code §§
Line from Schedule A/B: 6.12 = —.W_———  42.001(a)(1), (2), 42.002(a)(1)
O 100% of fair market value, up to
any applicable statutory limit
Washer & Dryer $300.00 wf $300.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.13 42.001(a)(1), (2), 42.002(a)(1)
LC 400% of fair market value, up to
any applicable statutory limit
Cleaning Supplies $4.00 $4.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.14 a 42.001(a)(1), (2), 42.002(a)(1)
O 400% of fair market value, up to

any applicable statutory limit

 

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Schedule C: The Property You Claim as Exempt

page 2 of 4
Best Case Bankruptcy
Debtor 1

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Ashley Genee Brown

Case number (if known)

 

Brief description of the property and line on
Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

‘Amount of the exemption you claim

Check only one box for each exemption.

 

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

any applicable statutory limit

oe S Schedule A/B
Bed and Matress Set on | $200.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.15 42.001(a)(1), (2), 42.002(a)(1)
QO 100% of fair market value, up to
any applicable statutory limit
(2) Night Tables $75.00 $75.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.16 - 42.001(a)(1), (2), 42.002(a)(1)
O 400% of fair market value, up to
any applicable statutory limit
Chair $50.00 gi $50.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.17 42.001(a)(1), (2), 42.002(a)(1)
Cl 400% of fair market value, up to
any applicable statutory limit
Dresser Tex. Civil Statute § 109 Art.
100.00 100.00
Line from Schedule A/B: 6.18 $ 5 : 6243a-1(8.03) and Art.
O 400% of fair market value, upto 6243j(20)
any applicable statutory limit
Bookcase $100.00 yi $100.00 Tex. Prop. Code §§
Line from Schedule A/B: 6.19 42.001(a)(1), (2), 42.002(a)(1)
OC 400% of fair market value, up to
any applicable statutory limit
(4) Televisions $450.00 wi $450.00 Tex. Prop. Code §§
Line from Schedule A/B: 7.1 ~ 42.001(a)(1), (2), 42.002(a)(1)
CO 400% of fair market value, up to
any applicable statutory limit
Laptop $200.00 $200.00 Tex. Prop. Code §§
Line from Schedule A/B: 7.2 42.001(a)(1), (2), 42.002(a)(1)
CX 100% of fair market value, up to
any applicable statutory limit
Threadmill $100.00 B $1 00.00 Tex. Prop. Code §§
Line from Schedule A/B: 9.1 42.001(a)(1), (2), 42.002(a)(8)
XC 400% of fair market value, up to
any applicable statutory limit
Elliptical Machine $150.00 wf $150.00 Tex. Prop. Code §§
Line from Schedule A/B: 9.2 - 42.001(a)(1), (2), 42.002(a)(8)
O 400% of fair market value, up to
any applicable statutory limit
eae oe - pall Ae ooteyin a 002(a)(5)
’ . a Ss : ,» (2), 42. a
Line from Schedule A/B: 11.1 QO 100% of fair market value, up to
any applicable statutory limit
401(k): Fidelity 401(k) $2,253.05 Tex. Prop. Code § 42.0021
Line from Schedule A/B: 21.1 ; as
ine from Schedule para Es
Hl 100% of fair market value, up to
any applicable statutory limit
Texas License to Practice General Unknown Gg Tex. Prop. Code §§
Dentistry 42.001(a)(1), (2), 42.002(a)(4)
Line from Schedule A/B: 27.1 Hi 100% of fair market value, up to

 

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Schedule C: The Property You Claim as Exempt

page 3 of 4
Best Case Bankruptcy
Debtor 1

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Ashley Genee Brown

Case number (if known)

 

Brief description of the property and line on
Schedule A/B that lists this property -

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption.

 

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

: : Schedule A/B
Northwest Mutual Life Insurance $31,318.61 Oo Tex. Ins. Code § 1108.051
Policy
Total Death Benefit: $531,104 HM 100% of fair market value, up to
Beneficiary: Adelle Brown ‘any applicable statutory limit
Line from Schedule A/B: 31.1
Laptop 200.00 200.00 Tex. Prop. Code §§
Line from Schedule A/B: 39.1 pene = 42.001(a)(1), (2), 42.002(a)(4)
O 400% of fair market value, up to
any applicable statutory limit
Oval Mirror $40.00 ff $40.00 Tex. Prop. Code §§
Line from Schedule A/8: 39.2 42.001(a)(1), (2), 42.002(a)(4)
OD 400% of fair market value, up to
any applicable statutory limit
Credenza with Drawers $150.00 $150.00 Tex. Prop. Code §§
Line from Schedule A/B: 39.3 42.001(a)(1), (2), 42.002(a)(4)
O 100% of fair market value, up to
any applicable statutory limit
(3) Lamps-two hanging and a floor $60.00 $60.00 Tex. Prop. Code §§
lamp 42.001(a)(1), (2), 42.002(a)(4)
Line from Schedule A/B: 39.4 O 100% of fair market value, up to
any applicable statutory limit
Area Rug and Abstract Print Canvas $50.00 $50.00 Tex. Prop. Code §§
Line from Schedule A/B: 39.5 42.001(a)(1), (2), 42.002(a)(4)
O 100% of fair market value, up to
any applicable statutory limit
Television $50.00 $50.00 Tex. Prop. Code §§
Line from Schedule A/B: 39.6 O 42.001(a)(1), (2), 42.002(a)(4)

100% of fair market value, up to
any applicable statutory limit

 

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. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

O No
BH No
O Yes

Schedule C: The Property You Claim as Exempt

page 4 of 4
Best Case Bankruptcy
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Fill in this information to identify your case:

Debtor 1 Ashley Genee Brown

First Name

 

Middle Name Last Name

Debtor 2
(Spouse ff, filing)

 

First Name Middle Name Last Name

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

 

 

Case number
(if known)

 

1 Check if this is an
amended filing

 

 

Official Form 106D :

Schedule D: Creditors Who Have Claims Secured by Property 12/115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
C1] No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

B i
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately as a ee
for each claim, If more than one creditor has a particular claim, list the other creditors in Part 2, As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral. claim If any
/2.1 | Cenlar Describe the property that secures the claim: $161,619.17 $260,818.00 $0.00
Grooktors Netra 10606 Clearview Villa Place
Houston, TX 77025 Harris County
LtT16 BLK1V
VILLAS ON CLEAVIEW AMEND
P.O. Box 77404 ae the date you file, the claim is: Check all that
Trenton, NJ 08628 Cl contingent
Number, Street, City, State & Zip Code | Unliquidated
Oo Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
BB pebtor 1 only Olan agreement you made (such as mortgage or secured
CO Debtor 2 only ii
CO Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
CZ Atleast one of the debtors and another Judgment lien from a lawsuit
O Check if this claim relates to a 0 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits ofaccountnumber 7339
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

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Debtor? Ashley Genee Brown

Case number (if known)

 

First Name Middle Name Last Name

2.2 | Suntrust Bank

 

Describe the property that secures the claim: $2,800.93 $18,591.00 $0.00

 

Creditor's Name

P.O. Box 305053
Dayton, IA 50530

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

"3 Debtor 1 only

O Debtor 2 only

C Debtor 1 and Debtor 2 only

OD atleast one of the debtors and another

O Check if this claim relates to a
community debt

Date debt was incurred 2014

[2.3 | Villas on Clearview C.A.

Creditor's Name

c/o Houston Community
Management

17049 El Camino Real,
Suite 100

Houston, TX 77058

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

BH debtor 4 only

C1 Debtor 2 only

1 Debtor 4 and Debtor 2 only

CZ Atleast one of the debtors and another

OO Check if this claim relates to a
community debt

Date debt was incurred _

2013 Lexus RX450h 88000 miles

 

 

 

As of the date you file, the claim is: Check all that
apply.

O Contingent

0 untiquidated

oO Disputed

Nature of lien. Check all that apply.

Ban agreement you made (such as mortgage or secured
car loan)

Oo Statutory lien (such as tax lien, mechanic's lien)

oO Judgment lien from a lawsuit

| Other (including a right to offset)

 

Last 4 digits of account number 8889

 

Describe the property that secures the claim: $3,586.17 $260,818.00 $0.00
10606 Clearview Villa Place
Houston, TX 77025 Harris County
LtT16 BLK 1V

VILLAS ON CLEAVIEW AMEND

As of the date you file, the claim is: Check all that
apply.

oO Contingent

Oo Unliquidated

O Disputed

Nature of lien. Check all that apply.

Ban agreement you made (such as mortgage or secured
car loan)
O Statutory lien (such as tax lien, mechanic's lien)
Oo Judgment lien from a lawsuit
i other (including a right to offset) 2017 & 2018 HOA Assessments, Attorney's Fees

 

Last 4 digits of account number

 

Add the dollar value of your entries in Column A on this page. Write that number here: $168,006.27
If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

 

 

 

 

$168,006.27

 

[EERE List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

O

Daughtry & Farine P.C.
17044 El Camino Real
Houston, TX 77058

Name, Number, Street, City, State & Zip Code

On which line in Part 1 did you enter the creditor? 2.3

Last 4 digits of account number _5963

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

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Fill in this information to identify your case:

Debtor 1

Ashley Genee Brown
First Name

 

Middle Name Last Name

 

Debtor 2
(Spouse ff, filing)

 

First Name Middle Name Last Name

United States Bankruptcy Court for the: © SOUTHERN DISTRICT OF TEXAS

 

Case number
(if known)

 

( Check if this is an
amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your

 

name and case number (if known).

Part 1:

1.

List All of Your PRIORITY Unsecured Claims

 

Do any creditors have priority unsecured claims against you?

C1 No. Go to Part 2.
El Yes,

List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.4 Internal Revenue Service Last 4 digits of account number $7,727.98 $7,727.98  —_—- $0.00
Priority Creditor's Name
P.O. Box 7346 When was the debtincurred? 2018
Philadelphia, PA 19101-7346
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
a Debtor 1 only Oo Unliquidated
O Debtor 2 only Oo Disputed
CO Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
D Atleast one of the debtors and another C1 Domestic support obligations
Cl Check if this claim is for a community debt BB Taxes and certain other debts you owe the government
Is the claim subject to offset? OO Claims for death or personal injury while you were intoxicated
Hi No OD other. Specify
0 Yes
2.2 | Internal Revenue Service Last 4 digits of account number $7,973.17 $7,973.17 $0.00
Priority Creditor's Name
P.O. Box 7346 When was the debtincurred? 2017 :
Philadelphia, PA 19101-7346
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
debtor 1 only Oo Unliquidated
O Debtor 2 only oO Disputed
D1 Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
CO Atleast one of the debtors and another C1 Domestic support obligations
CO Check if this claim is for a community debt IB taxes and certain other debts you owe the government
Is the claim subject to offset? 1 Claims for death or personal injury while you were intoxicated
Bi No CJ Other. Specify
0 Yes
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 7

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53378

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Debtor 1 Ashley Genee Brown

Case number (if known)

 

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

DO No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Bi ves.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of

 

 

 

 

 

 

 

 

 

 

Part 2.
Total claim
]
4.1 | Affirm Last 4 digits of accountnumber FTA1 $573.90
Nonpriority Creditor's Name
30 Isabella St., Floor 4 When was the debt incurred?
Pittsburgh, PA 15212
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
| Debtor 1 only Oo Contingent
O1 Debtor 2 only CO unliquidated
C1 Debtor 4 and Debtor 2 only Oo Disputed
C at least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO] Gheck if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B No O Debts to pension or profit-sharing plans, and other similar debts
O Yes Bi other. Specify
4.2 Align Technology Inc. Last 4 digits of account number $30,310.00
Nonpriority Creditor's Name
clo David Cook, Esq. When was the debt incurred?
165 Pell Street
San Francisco, CA 94102
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 4 only a Contingent
O Debtor 2 only a Unliquidated
C1 Debtor 4 and Debtor 2 only BF pisputed
Bl at least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B No C1 Debts to pension or profit-sharing plans, and other similar debts
OO Yes i other. Specity Claim amount per Align's Complaint
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 7

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Debtor1 Ashley Genee Brown 7 Case number (if known)

| | + ‘ 7

|43 | American Education Services Last 4 digits of account number 7158 $158,081.82
Nonpriority Creditor's Name TeLTepenneceul
P.O. Box 2461 When was the debt incurred?
Harrisburg, PA 17105
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B debtor 1 only Oo Contingent
OO Debtor 2 only 1 unliquidated
0 Debtor 7 and Debtor 2 only OO Disputed

Type of NONPRIORITY unsecured claim:
a Student loans

CO Atleast one of the debtors and another

CO] Check if this claim is for a community

 

 

 

debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CI Debts to pension or profit-sharing plans, and other similar debts
O Yes OO other. Specify
4.4 Bank of America Last 4 digits of account number 4604 $10,025.89
Nonpriority Creditor's Name
Business Card When was the debt incurred?

 

P.O. Box 15796
Wilmington, DE 19886

 

 

 

 

 

 

 

 

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
OO Debtor 1 only oO Contingent
C1 Debtor 2 only 0 unliquidated
CO Debtor 1 and Debtor 2 only oO Disputed
Bl At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community C] student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BE no 0 Debts to pension or profit-sharing plans, and other similar debts
C Yes BB other. Specify
| 4.5 Bank of America Last 4 digits ofaccountnumber 8833 $14,214.56
Nonpriority Creditor's Name
P.O. Box 861001 When was the debt incurred?
Dallas, TX 75285
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
DO Debtor 4 only D1 Contingent
C1 Debtor 2 only 0 unliquidated
D Debtor 1 and Debtor 2 only oO Disputed
HB atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
CD Yes HB other. Specify i
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 7

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Debtor1 Ashley Genee Brown

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.6 Bank of America Last 4 digits of accountnumber 5330 $14,856.19
Nonpriority Creditor's Name
P.O. Box 861001 When was the debt incurred?
Dallas, TX 75285
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 1 only CO contingent
C1 Debtor 2 only OD unliquidated
C) Debtor 1 and Debtor 2 only oO Disputed
Il At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community U1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bino C1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes BH other. Specify
47 | BBVA Last 4 digits of accountnumber 0864 $70,000.00
Nonpriority Creditor's Name
P.O. Box 192 When was the debt incurred?
Birmingham, AL 35201-0192
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CO Debtor 4 only a Contingent
C1 Debtor 2 only a Unliquidated
CO] Debtor 1 and Debtor 2 only BB pisputed
@ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a. community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE no OO Debts to pension or profit-sharing plans, and other similar debts
O Yes i other. Specify Line of Credit for Practice ;
4.8 Internal Revenue Service Last 4 digits of account number $7,079.24
Nonpriority Creditor's Name
P.O. Box 7346 When was the debt incurred? 2016
Philadelphia, PA 19101-7346
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ debtor 1 only Oo Contingent
0 Debtor 2 only O Unliquidated
CO Debtor 4 and Debtor 2 only Oo Disputed
C At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B no D1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes BF other. Specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 7

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Debtor’ Ashley Genee Brown

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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49 | Internal Revenue Service Last 4 digits of account number $7,188.35
Nonpriority Creditor's Name
P.O. Box 7346 When was the debt incurred? 2015
Philadelphia, PA 19101-7346
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
ee Debtor 1 only Oo Contingent
D1 Debtor 2 only Oo Unliquidated
OO Debter 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO] Check if this claim is for a community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bino OD Debts to pension or profit-sharing plans, and other similar debts
QO Yes Bi other. Specify

44 5

0 Kidzone Dental PLLC Last 4 digits of account number $0.00
Nonpriority Creditors Name
1919 Lake Winds Dr. When was the debt incurred?
Missouri City, TX 77459
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB bebtor 1 only a Contingent
DO Debtor 2 only BF Unliquidated
D Debtor 1 and Debtor 2 only a Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OU Check if this claim is for a community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bino C1 Debts to pension or profit-sharing plans, and other similar debts
1 Yes BB other. Specify

4.1 .

4 Smile Source Management L.L.C. Last 4 digits of account number 7477 $14,209.84
Nonpriority Creditor's Name
Smile Source L.P. When was the debt incurred?
23824 Highway 59 North
Kingwood, TX 77339
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 4 only HH Contingent
C1 Debtor 2 only BB unliquidated
C1 Debtor 4 and Debtor 2 only BB pisputed
BB At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community C1 student loans
debt CO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O Debts to pension or profit-sharing plans, and other similar debts
0 Yes BH other. Specify

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 7

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Debtor 1 Ashley Genee Brown

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.1 5 Beans “
2 U.S. Small Business Adminsitration Last 4 digits of account number 5002 $70,387.76
Nonpriority Creditor's Name rah
2 North 20th Street, Suite 320 When was the debt incurred?
Jacksonville, FL 32203
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
D1 Debtor 4 only a Contingent
O Debtor 2 only a Unliquidated
OO Debtor 1 and Debtor 2 only | Disputed
BB At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO Debts to pension or profit-sharing plans, and other similar debts
O ves BH other. Specify
44 .
3 Vajahat Yar Khan, BDS Last 4 digits of account number $0.00
Nonpriority Creditor's Name
1916 Lake Winds Dr. When was the debt incurred?
Missouri City, TX 77459
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 4 only a Contingent
OQ Debtor 2 only a Unliquidated
C1 Debtor 1 and Debtor 2 only BB pisputed
Bl At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Check if this claim is for a community C1 Student loans
debt CO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bo O Debts to pension or profit-sharing plans, and other similar debts
DO Yes Hi other. Specify
44
4 Wells Fargo Last 4 digits of accountnumber 0001 $268,868.84

 

 

Nonpriority Creditor's Name
2000 Powell St. 4th Floor
Emeryville, CA 94608

 

Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

OO Debtor 2 only

D1 Debtor 1 and Debtor 2 only

O Atieast one of the debtors and another

O Check if this claim is for a community
debt

Is the claim subject to offset?

When was the debt incurred?

Dec. 18 2015

 

As of the date you file, the claim is: Check all that apply

| Contingent
BF Unliquidated

a Disputed
Type of NONPRIORITY unsecured claim:
C1 Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

| No CO Debts to pension or profit-sharing plans, and other similar debts
The claim amount is per Wells Fargo's
O yes Bl other. Specify complaint.

 

List Others to Be Notified About a Debt That You Already Listed

§. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims
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Case 20-32761

Debtor1 Ashley Genee Brown

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Case number (if known)

 

Annapoomi Sankaran
Holland & Knight LLP

1100 Louisiana St., Suite 4300
Houston, TX 77002

Name and Address

David J. Cook, Esq.

Cool Collection Attorneys
165 Fekk Street

San Francisco, CA 94102

 

Line 4.14 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.2 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

Bi part2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Add the Amounts for Each Type of Unsecured Claim

 

6. Total the amounts of certain types of unsecured claims, This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

 

 

 

 

 

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 15,701.15
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
Se. Total Priority. Add lines 6a through 6d. 6e. $ 15,701.15
Total Claim
6f. Student loans 6f. $ 158,081.82
Total .
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g. $
Sh. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
ei s 507,714.57
8j. Total Nonpriority. Add lines 6f through 6i. 6j. $ 665,796.39
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 7

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Fill in this information to identify your case:

 

 

 

 

Debtor 1 Ashley Genee Brown

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: SOUTHERN DISTRICT OF TEXAS

 

Case number
(if known) (1 Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Doyou have any executory contracts or unexpired leases?
WH No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
O Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code
2.1
Name
Number Street
City nau State ZIP Code
2.2
Name
Number Street
City State ZIP Code _ at
23
Name
Number Street
City ; State ZIP Code 7 A
2.4
Name
Number Street
City State ZIP Code aa
Zab
Name
Number Street
City State ZIP Code ii
Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Fill in this information to identify your case:

 

 

 

Debtor 1 Ashley Genee Brown

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © SOUTHERN DISTRICT OF TEXAS

Case number ;
(if known) 1 Check if this is an

amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

ONo
yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Hl No. Go to line 3.
O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:

3.1 Ashley Brown, DDS, PLLC 0) Schedule D, line
10606 Ckeaview Villa Place H Schedule E/F. line 4.13

Houston, TX 77025 QO Schedule G

Vajahat Yar Khan, BDS

 

 

 

3.2. Ashley Brown, DDS, PLLC OO Schedule D, line
10606 Ckeaview Villa Place a E/F li 4.2
Houston, TX 77025 Schedule E/F, line :
0 Schedule G

Align Technology Inc.

 

 

 

3.3. Ashley Brown, DDS, PLLC O Schedule D, line
10606 Ckeaview Villa Place B Schedule E/E line 4.7
Houston, TX 77025 C1 Schedule G "Til
BBVA
Official Form 106H Schedule H: Your Codebtors Page 1 of 2

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Debtor1 Ashley Genee Brown Case number (if known)

 

 

Eaow Additional Page to List More Codebtors

 

Column 7: Your codebtor = Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.4 Ashley Brown, DDS, PLLC O Schedule D, line
10606 Ckeaview Villa Place HM Schedule E/F. line 4.12 -

Houston, TX 77025 Oi Schedule G

U.S. Small Business Adminsitration

 

 

3.5 Ashley Brown, DDS, PLLC O Schedule D, line
10606 Ckeaview Villa Place H@ Schedule E/F. line 4.4
Houston, TX 77025 Cl Schedule G

Bank of America

 

3.6 Ashley Brown, DDS, PLLC O Schedule D, line
10606 Ckeaview Villa Place Hl Schedule E/F, line 4.14
Houston, TX 77025 Cl Schedule. G

Smile Source Management L.L.C.

 

3.7 Kidzone Dental PLLC O1 Schedule D, line

1919 Lake Winds Dr. M@ Schedule E/F, line 4.5
Missouri City, TX 77459 CO Schedule G

Bank of America

3.8 Kidzone Dental PLLC OJ Schedule D, line

1919 Lake Winds Dr. HM Schedule E/F, line 4.6
Missouri City, TX 77459 Cl) Schedule G

Bank of America

Official Form 106H Schedule H: Your Codebtors Page 2 of 2
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UMAR tA MIAO LMAAE Lela com (e(s 010

your case:

Debtor 1 Ashley Genee Brown

 

Debtor 2

 

(Spouse, if filing)

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 

Case number

 

(If known)

 

Official Form 1061
Schedule |: Your Income

Check if this is:
O An amended filing

[ A supplement showing postpetition chapter
13 income as of the following date:

MM / DDI YYYY
12/15

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

LENS Describe Employment

1. Fillin your employment
information.

If you have more than one job,
attach a separate page with
information about additional
employers.

Employment status

Occupation

Include part-time, seasonal, or ;
self-employed work. Employer's name

Occupation may include student Employer's address

Debtor 4

Debtor 2 or non-filing spouse

 

Hi Employed
0 Not employed

Dental Associate

Kidzone Dental PLLC

CO Employed
O Not employed

 

1919 Lake Winds Dr.

or homemaker, if it applies. Missouri City, TX 77459

 

 

How long employed there?

Since May 2019
Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
List monthly gross wages, salary, and commissions (before all payroll
2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 § 3,000.00 $ NIA
3. Estimate and list monthly overtime pay. 3. o+§ 0.00 +5 NIA
4. Calculate gross Income. Add line 2 + line 3. 4. | $ 3,000.00 $ NIA

 

 

 

Official Form 1061 Schedule I: Your Income

page 1
Debtor 1

10.

11.

12,

13.

Official Form 1061

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Ashley Genee Brown

 

Copy line 4 mete, SEER ES SE PPP

List all payroll deductions:

5a.
5b.
5c.
5d.
Be.
5f.

5g.
5h.

Tax, Medicare, and Social Security deductions
Mandatory contributions for retirement plans
Voluntary contributions for retirement plans
Required repayments of retirement fund loans
Insurance

Domestic support obligations

Union dues

Other deductions. Specify:

 

Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.

Calculate total monthly take-home pay. Subtract line 6 from line 4.

List all other income regularly received:

8a.

8b.
8c.

8d.
8e.
8f.

8g.

8h.

Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income.

Interest and dividends

Family support payments that you, a non-filing spouse, or a dependent
regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

Unemployment compensation

Social Security

Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

Pension or retirement income

 

Payment towards living expenses
Other monthly income. Specify: from sister/roommate

 

Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.

Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

10.

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and

other friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

applies

Do you expect an increase or decrease within the year after you file this form?

Oo
a

No.

For Debtor 1 For Debtor 2 or
: non-filing spouse

4, $ 3,000.00 § N/A
Sa. § 750.00 $ NIA_
5b. § 0.00 $ N/A
5c. §$ 0.00 $ N/A
Sd. § 0.00 $ N/IA_
Se. § 0.00 5 N/A
SiS 0.00 =$ N/A
5g. §$ 0.00 § N/A
Sh.t+ $ 0.00 + $ N/A
6. § 750.00 $ NIA
7. §$ 2,250.00 §$ NIA
8a. § 0.00 $ N/A
8b. § 0.00 § NIA
8. SF 0.00 §$ N/A
8d. $ 0.00 $ N/A
8e. §$ 0.00 $ N/A
sf. § 0.00 =§$ N/A
8g. $ 0.00 $ NIA
8h.+ $ 1,500.00 + § N/A
9. |$ 1,500.00 | | $ NIA

$ 3,750.00 | +/$ N/A | =|$ 3,750.00

11. +$ 0.00

$ 3,750.00

 

 

Combined
monthly income

 

 

Yes. Explain: | Dr, Brown anticipates an increase in her income as her hours increase/she sees additional patients.

Schedule |: Your Income

page 2
Case 20-32761 Document1 Filed in TXSB on 05/26/20 Page 36 of 54

 

Fill in this information to identify your case:

 

 

Debtor 4 Ashley Genee Brown : Check if this is:
(] Anamended filing
| Debtor 2 OO Asupplement showing postpetition chapter
| (Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS MM/DDIYYYY

 

Case number
(If known)

 

 

Official Form 106J __
Schedule J: Your Expenses 412/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household
1. Is this a joint case?

H No. Go to line 2.
OO Yes. Does Debtor 2 live in a separate household?

ONo
CO Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? HI No

        

 

 

 

 

Do not list Debtor 1 and O Yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
Do not state the OO No
dependents names. O yes
OONo
D Yes
ONo
D Yes
ONo
DO Yes
3. Do your expenses include HiNo

expenses of people other than oO
yourself and your dependents? Yes
Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know

the value of such assistance and have included it on Schedule /: Your Income

(Official Form 106I.) Your expenses — ;
SSS eters

4. The rental or home ownership expenses for your residence. Include first mortgage

payments and any rent for the ground or lot. .§ 1,997.00

lf not included in line 4:

4a. Real estate taxes 4a. § 0.00

4b. Property, homeowner's, or renter’s insurance 4b. §$ 0.00

4c. Home maintenance, repair, and upkeep expenses 4c. §$ 54.95

4d. Homeowner's association or condominium dues 4d. $ : 100.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
Case 20-32761 Document 1 Filed in TXSB on 05/26/20 Page 37 of 54

Debtor1 Ashley Genee Brown

6.

16.

ta.

18.
19.

20.

21,
22,

23.

24.

Official Form 106J

 

Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection

6d. Other. Specify:

Case number (if known)

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Do not include car payments.

Insurance.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

 

Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2

 

17d. Other. Specify:

 

Specify:

 

20a, Mortgages on other property
20b. Real estate taxes

Other: Specify:

 

Calculate your monthly expenses
22a. Add lines 4 through 21.

Calculate your monthly net income.

 

 

 

6a. $ 200.00
6b. S$ 212.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 0.00
6d. $ 0.00
78 500.00
8. $ 0.00
9. § 0.00
10. $ 300.00
11. $ 141.66
Transportation. Include gas, maintenance, bus or train fare.
12. $ 0.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 100.00
Charitable contributions and religious donations 14.$ °° 0.00
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. $ 891.63
15b. $ 555.21
15c, $ a 106.00
15d. Other insurance. Specify: Malpractice Insurance 15d. $ 100.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. ir
16. $ 0.00
17a. $ 721.00
17b. § 0.00
17c. Other. Specify: HOA Dues and Attorney's Fees per Payment Plan 17c. $ 398.47
17d. S 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule I, Your Income (Official Form 106). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule !: Your Income.
20a. $ 0.00
20b. $ 0.00
20c. Property, homeowner's, or renter's insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e.$ 0.00
21. +8 0.00
|
$ 6,377.92
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
2c. Add line 22a and 22b, The result is your monthly expenses. $ «6377.92.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 3,750.00
23b. Copy your monthly expenses from line 22c above. 23b. -$ < 6,377.92
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c.|$ -2,627.92

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

Bi No,

 

D Yes. [ Explain here:

 

Schedule J: Your Expenses

page 2
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Fill in this information to identify your case:

Debtor 1 Ashley Genee Brown
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 

Case number
(if known) 1 Check if this is an
amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Fae Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Bg No

Ol Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

 

 

 

 

xX
b Signature of Debtor 2 ah
Signature at Debtor 1
Date May 26, 2020 Date
Official Form 106Dec Declaration About an Individual Debtor's Schedules

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Case 20-32761 Document 1 Filed in TXSB on 05/26/20 Page 39 of 54

Fill in this information to identify your case:

 

 

 

Debtor 1 Ashley Genee Brown

First Name Middie Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name LastName

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 

Case number
| (if known) 1 Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4l19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. Whatis your current marital status?

1 Married
HB Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

HB No

O Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

@ No
[1 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

ea Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

 

 

O No
@ Yes. Fill in the details.
Debtor1 — : is = Debtor 2 ; =
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
From January 1 of current year until gy Wages, commissions, $20,521.15 1 Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
C1 Operating a business C1 Operating a business
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Case 20-32761 Document 1

Debtor 1

For last calendar year:
(January 1 to December 31, 2019 )

Ashley Genee Brown __

Debtor 1

Sources of income
Check all that apply.

a Wages, commissions,
bonuses, tips

OO Operating a business

Filed in TXSB on 05/26/20 Page 40 of 54

Case number (if known)

Gross income
(before deductions and
exclusions)

$66,150.10

 

Debtor 2.

Sources of income
Check all that apply.

1 Wages, commissions,
bonuses, tips

C1 Operating a business

Gross income
(before deductions
and exclusions)

 

For the calendar year before that:
(January 1 to December 31, 2018 )

is Wages, commissions,
bonuses, tips

O Operating a business

$56,779.00

OO Wages, commissions,
bonuses, tips

O Operating a business

 

OC Wages, commissions,
bonuses, tips

B Operating a business

$88,600.00

0 Wages, commissions,
bonuses, tips

OO Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

O No
H Yes. Fill in the details.
‘Debtor 1

Sources of income
Describe below.

Debtor 2
Sources of income
Describe below.

Gross income
(before deductions
and exclusions)

Gross income from
each source
(before deductions and

 

exclusions)
From January 1 of current year until Unemployment $4,036.00
the date you filed for bankruptcy: Benefits
For the calendar year before that: Ashley Brown DDS $10,083.00

(January 1 to December 31, 2018 )

PLLC

 

GEER List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
HM No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

B No. Go to line 7.

QO Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

O Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

Official Form 107

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During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

U1 No.
O yes

Go to line 7.

List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

Best Case Bankruptcy
Case 20-32761 Document1 Filed in TXSB on 05/26/20 Page 41 of 54

 

Debtor 1 Ashley Genee Brown Case number (if known)
Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for...
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.
BH No
Ol Yes. List all payments to an insider.
Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

Include payments on debts guaranteed or cosigned by an insider.

HB No

O Yes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe Include creditor's name

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

O No
H Yes. Fill in the details.

Case title Nature of the case Court or agency Status of the case
Case number

Wells Fargo, Practice Finance, a Breach of Southern District of Texas H Pending
Division of Wells Fargo Bank, N.A. Coniract/Debt Houston O on appeal

v. Ashley Brown, DDS, PLLC, Collection 515 Rusk O Concluded
Ashley Genee Brown, Kidzone Houston, TX 77002

Dental, PLLC dba Infinite Smiles
and Kidzone Dental, and Dr.
Vajahat Yar Khan

Civil Action No, 4:19-cv-04244

Align Technology, Inc. v Ashley Breach of Superior Court of the State IH Pending

Brown, DDS Contract/Collectio of Californi CO onappeal

CBC-20-582692 n Debt Oc
oncluded

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

HB No. Go toline 11.
O Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the
property

Explain what happened
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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Debtor 1 Ashley Genee Brown Case number (if known)

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?
H No
Ol Yes. Fill in the details.
Creditor Name and Address Describe the action the creditor took Date action was Amount
taken
12:

Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

MH No
O Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
H No
Ol Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts

Dates you gave Value
per person

the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
H No
Ol Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed
more than $600

Charity’s Name
Address (Number, Street, City, State and ZIP Code)

(GER List Certain Losses

Dates you Value
contributed

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?
BH No
O Yes. Fill in the details.
Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred Include the amount that insurance has paid. List pending  'SS lost

insurance claims on line 33 of Schedule A/B: Property.

[Enea List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
@ yes. Fill in the details.

 

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made
Person Who Made the Payment, if Not You
Wauson Probus $7,000 Attorney's Fees November 11, $7,420.00
One Sugar Creek Center, Blvd. 880 $420 consultation 2019:
Sugar Land, TX 77478 Consultation
May 22, 2020:
Attorney's
Fees
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

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Debtor1 Ashley Genee Brown ; i Case number (if known)
Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment

Email or website address
Person Who Made the Payment, if Not You

Money Management International March 2020 $50.00
Sugar Land, TX 77478

made

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

C1 No
HM Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
made

Damani Law Firm PLLC Creditor Negotiations and Settlements May 2019 $4,000.00

8303 Southwest Fwy., Suite 111
Houston, TX 77074

 

Wauson Probus Financial Workout and Bankrutpcy November 13, $0.00
One Sugar Creek Center Blvd., Suite Evaluation 2019 & May ;

880 November 2019: $7,335.00 22, 2020

Sugar Land, TX 77478 May 22, 2020: $3,879.25

May 22,2020: $2,950.75

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

H No

Ol Yes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

HM No
Ol Yes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was
made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.
HM No

O Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance

Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or

Code) moved, or transfer
transferred

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Debtor1 Ashley Genee Brown Case number (if known)

 

 

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

HM No

O Yes. Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code)

22, Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

BH No

C] Yes. Fill in the details.

Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?

Address (Number, Street, City,
State and ZIP Code}

[ERB Identify Property You Hold or Control for Someone Else

23. Do you hold or contro! any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.

H No

O Yes. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)

[GEXS0He Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

H Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hl Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

H No

Ol Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

H No
[C] Yes. Fill in the details.
Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it
ZIP Code)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Debtor1 Ashley Genee Brown A Case number (if known)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
HM No
Ol Yes. Fill in the details.

Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Number, Street, City,
State and ZIP Code)

cium Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
CA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
0 A member of a limited liability company (LLC) or limited liability partnership (LLP)
Oa partner in a partnership
DO An officer, director, or managing executive of a corporation
0 An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to Part 12.

H Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number

Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code) Name of accountant or bookkeeper

Dates business existed

Ashley Brown, DDS, PLLC Small Dentist Practice EIN:
10606 Ckeaview Villa Place
Houston, TX 77025 HDA Accounting Group From-To From August 2011 to May 2019

7350 E. Progress Place, Suite 208
Greenwood Village, CO 80111

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

H No
Yes. Fill in the details below.

Name Date Issued
Address
(Number, Street, City, State and ZIP Code)

ues Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are tue and correct. | untierstand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with & bankruptcy gase/¢an result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 .C §§) 152, 9 3571

 
     

 

 

hiley Géne Brown Signature of Debtor 2
ignature of Debtor 1

Date May 26, 2020 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
HNo

0 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

HiNo

CO Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Fill in this information to identify your case:

 

 

| Debtor 1 Ashley Genee Brown
| First Name Middle Name Last Name
Debtor 2 it
(Spouse if, filing) First Name Middle Name Last Name 7

 

United States Bankruptcy Court forthe: © SOUTHERN DISTRICT OF TEXAS

 

Case number
(if known) 0 Check if this is an
amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12145

If you are an individual filing under chapter 7, you must fill out this form if:
EB creditors have claims secured by your property, or

BB you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors Cenlar O Surrender the property. CO No
name: CO Retain the property and redeem it.
Wi Retain the property and enter into a Bi Yes

Description of 10606 Clearview Villa Place
property Houston, TX 77025 Harris
County

LtT16 BLK 1V

VILLAS ON CLEAVIEW AMEND

Reaffirmation Agreement.
CO Retain the property and [explain]:
securing debt:

 

Creditors Suntrust Bank O Surrender the property. C1 No
name: 0 Retain the property and redeem it.
H Retain the property and enter into a B Yes

Description of 2013 Lexus RX450h 88000 miles Reaffirmation Agreement.

property CZ Retain the property and [explain]:
securing debt:

 

Creditor's Villas on Clearview C.A. CO) Surrender the property. ONo
name: O Retain the property and redeem it.
a @ Retain the property and enter into a B Yes
Description of 10606 Clearview Villa Place Reaffirmation Agreement.
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

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Debtor1 Ashley Genee Brown Case number (if known)

 

property Houston, TX 77025 Harris C Retain the property and [explain]:
securing debt: County

LtT16 BLK 1V

VILLAS ON CLEAVIEW AMEND

 

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

    

 

 

 

 

Describe your unexpired personal property leases Will the lease’ be assumed?

Lessor's name: O No

Description of leased

Property: O Yes

Lessor's name: O No

Description of leased

Property: O Yes

Lessor's name: O No

Description of leased

Property: O Yes

Lessor's name: O No

Description of leased

Property: O Yes

Lessor's name: O No

Description of leased

Property: O Yes

Lessor's name: OC No

Description of leased

Property: O Yes

Lessor's name: Ol No

Description of leased

Property: CO Yes
Sign Below Bin

Under penalty of perjpry, | larefhat | have indicated my intention about any property of my estate that secures a debt and any personal
property that is gubject to ann

A Aone X
Askley Gende Brown Signature of Debtor 2
gnature of Debtdr 1
Date May 26, 2020 Date
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

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Fill in this information to identify your case: Check one box only as directed in this form and in Form

 

 

 

122A-1 Supp:
Debtor 1 Ashley Genee Brown a
Debtor 2 i i
| 2. 1. There is no presumption of abuse
| United States Bankruptcy Court for the: Southern District of Texas C1 2. The calculation to determine if a presumption of abuse

 

applies will be made under Chapter 7 Means Test

Case number Calculation (Official Form 122A-2).

(i known) C1 3. The Means Test does not apply now because of

| qualified military service but it could apply later.

 

O] Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income 04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 

 

Calculate Your Current Monthly Income

 

1. What is your marital and filing status? Check one only.
0) Not married. Fill out Column A, lines 2-11.
C1 Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
OO Married and your spouse is NOT filing with you. You and your spouse are:
C1 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

CX Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).

Fillin the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
101(10A), For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
the 6 months, add the income for all 6 months and divide the total by 6, Fill in the result. Do not include any income amount more than once. For example, if both
spouses own the same rental property, put the income from that property in-one column only. If you have nothing to report for any line, write $0 in the space,

 

Column A Column B
Debtor 1 Debtor 2 or
: non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). $
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ $

 

4. Allamounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. $ $

5. Net income from operating a business, profession, or farm

 

 

 

 

 

 

Debtor 1
Gross receipts (before all deductions) $
Ordinary and necessary operating expenses $
Net monthly income from a business, profession, or farm $ Copy here -> $ _ §$
| 6. Net income from rental and other real property
| Debtor 4
Gross receipts (before all deductions) $
Ordinary and necessary operating expenses “$
Net monthly income from rental or other real property $ _ Copy here -> $ $
7. Interest, dividends, and royalties $ a :
Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

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Debtor 4 Ashley Genee Brown Case number (if known)

 

 

8.

 

10.

T4.

12.

13.

Column A
‘Debtor 1

Unemployment compensation $

Do not enter the amount if you contend that the amount received was a benefit under a
the Social Security Act. Instead, list it here:

For you OPP P OOP ee

   
 

 

Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled
if retired under any provision of title 10 other than chapter 61 of that title.

Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments made
under the Federal law relating to the national emergency declared by the President
under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
coronavirus disease 2019 (COVID-19); payments received as a victim of a war
crime, a crime against humanity, or international or domestic terrorism; or
compensation pension, pay, annuity, or allowance paid by the United States
Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below..

 

Column B
Debtor 2 or

non-filing spouse

$

 

nw wm

Total amounts from separate pages, if any. oh

 

Calculate your total current monthly income. Add lines 2 through 10 for
each column. Then add the total for Column A to the total for Column B.

 

 

 

 

[Part 2: | Determine Whether the Means Test Applies to You

Total current monthly
income

 

Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from line 11 Copy line 11 here=>

Multiply by 12 (the number of months in a year)

12b. The result is your annual income for this part of the form

Calculate the median family income that applies to you. Follow these steps:

Fillin the state in which you live.
Fill in the number of people in your household. |

Fillin the median family income for your state and size of household.

To find a list of applicable median income amounts, go online using the link specified in the separate instructions

for this form. This list may also be available at the bankruptcy clerk's office.

. How do the lines compare?

 

x 12

 

12b. | §

 

14a. [1 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.

Go to Part 3. Do NOT fill out or file Official Form 122A-2.

14b. (1 Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 1224-2,

Go to Part 3 and fill out Form 122A—2.

ee Sign Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

x

Ashley Genee Brown

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income
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13. |$ |

 

 

page 2
Best Case Bankruptcy
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Debtor 1 Asttley Genee Brows Case number (if known)

pbb a OLOUY

Date“ May 26, 0
MM/DD /YYYY

If you checked line 14a, do NOT fill out or file Form 122A-2. |

 

 

If you checked line 14b, fill out Form 122A-2 and file it with this form.

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 3
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Fill in this information to identify your case:

Debtor 1 Ashley Genee Brown

 

Debtor 2
(Spouse, if filing)

 

 

| United States Bankruptcy Court for the: Southern District of Texas

 

Case number O Check if this is an amended filing
(if known)

 

 

Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2) 12115

 

 

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 1224-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
Individuals Filing for Bankruptcy (Official Form 1).

| HI No. Go to Form 1224-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
supplement with the signed Form 122A-1.

O Yes. Go to Part 2.

ae Determine Whether Military Service Provisions Apply to You

2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
COUNo. Gotoline 3.
OO Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
ONo. Goto line 3.

Ol Yes. Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
submit this supplement with the signed Form 122A-1.

 

3. Are you or have you been a Reservist or member of the National Guard?
C1No. Complete Form 122A-1, Do not submit this supplement.
Ol Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
CONo. Complete Form 122A-1. Do not submit this supplement.

1 Yes. Check any one of the following categories that applies:
_lf you checked one of the categories to the left, go to Form
O_ | was called to active duty after September 11, 2004, for atleast | 122A-1. On the top of page 1 of Form 1224-1, check box 3,
90 days and remain on active duty. _ The Means Test does not apply now, and sign Part 3. Then
-submit this supplement with the signed Form 122A-1. You
OO | was called to active duty after September 11, 2004, for at least -are not required to fill out the rest of Official Form 1224-1 _
90 days and was released from active dutyon___====——=——C, SS duiring the exclusion period. The exclusion period means
| which is fewer than 540 days before | file this bankruptcy case. -the time you are on active duty or are performing a

fense activity, and for 540 d
(1am performing a homeland defense activity for at least 90 days. ee ae ena Les bays a ietwerest

 

Ol | performed a homeland defense activity for at least 90 days, if lusi Pterde bak Sas
| ending on , which is fewer than 540 days before | SBE Tee USION Pe BOd Soe Celole yOu ease i Usee,

file this bankruptcy case. you may have to file an amended form later.

Libros Io

Official Form 122A4-1Supp Statement of Exemption from Presumption of Abuse Under § 707(b)(2) page 1
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
In re: §
ASHLEY GENEE BROWN § CASE NO.
§
Debtor § Chapter 7

ASHLEY BROWN’S STATEMENT REGARDING PAYMENT ADVICES

My name is Ashley Genee Brown. | am the debtor in this bankruptcy case. Attached as
Exhibit A are the payment advices I received within the last sixty (60) days.

 

Dr. As Brown

Respectfully submitted,

WAUSON ¢ PROBUS

By: /s/Anabel King
Anabel King

State Bar No. 24067659 / Fed. Id. 1012318

One Sugar Creek Center Blvd., Suite 880
Sugar Land, Texas 77478

(281) 242-0303 (Telephone)

(281) 242-0306 (Facsimile)

COUNSEL FOR DEBTOR,
DR. ASHLEY BROWN
 

 

 

Apply For Benefits
Correspondence Inbox

” Claim and Payment Status
Payment Request

Work Search Log
WorkInTexas.com

IRS Tax Infarmation
Payment Option

Appeal List

Submit An Appeal

Request Your Waiting Week

 

 

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Payment Details by Week
|Claimant Information

Name:

 
 
 

 

     

ASHLEY BROWN

Social Security Number (SSN): XXX-XX-7613

 

 

Apr 26, 2020 to May 02, 2020

(&! TWC Processed Date: May 26, 2020
&' Amount Deposited: $1,009.00
© Deduction(s)

© Federal Tax Withholding: $112.00

Apr 19, 2020 to Apr 25, 2020

 

& TW Processed Date: May 26, 2020
Amount Deposited: $1,009.00
© Deduction(s}

t' Federal Tax Withholding: $142.00

Apr 12, 2020 to Apr 18, 2020

& TWC Processed Date: Apr 27, 2020

t Amount Deposited: $1,009.00
& Deduction{s)
&! Federal Tax Withholding:

Apr 05, 2020 to Apr 11, 2020

$112.00

t&' TWC Processed Date: Apr 27, 2020

& Amount Deposited: $1,009.00
 Deduction(s)
© Federal Tax Withholding: $112.00

Return to Claim and Payment Status

© Frequently Asked Questions | © Glossary
© Report technical problems
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oS'eZ$ aJEIIPaW
oO'OLE$ Aundag |eI90S 00'000'S$ -- SSOIE) UOJSNOH “9 BINS ‘| YsIUedS PIC EEEs
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Auannac rmennu
